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6                          IN THE UNITED STATES DISTRICT COURT
7                               FOR THE DISTRICT OF ARIZONA
8
9      Maksim Kunitskii,                                  No. CV-25-01845-PHX-DWL (JFM)
10                    Petitioner,                         ORDER
11     v.
12     Fred Figueroa,
13                    Respondent.
14
15            Petitioner filed this action on May 29, 2025, challenging the President’s invocation

16     of 8 U.S.C. § 212(f) to restrict his entry to the United States and his ability to seek asylum

17     pursuant to 8 C.F.R. § 235.3. (Doc. 1.) The Court ordered expedited briefing on his

18     petition. (Doc. 4.) Although the petition further requested emergency injunctive relief, the

19     Court noted Petitioner did not file a separate motion addressing the relevant standard for

20     seeking injunctive relief. (Id.) Petitioner has now filed a request to “stay” his removal

21     pending resolution of his petition. (Doc. 8.) The Court construes the request for a stay as

22     a motion for temporary restraining order (“TRO”) or preliminary injunction.

23            Under Rule 65, a TRO may be issued without notice to the adverse party. More

24     specifically, under Rule 65(b)(1), the Court “may issue a temporary restraining order

25     without written or oral notice to the adverse party or its attorney” if two requirements are

26     met: (1) “specific facts in an affidavit or a verified complaint clearly show that immediate

27     and irreparable injury, loss, or damage will result to the movant before the adverse party

28     can be heard in opposition”; and (2) “the movant’s attorney certifies in writing any efforts
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1      made to give notice and the reasons why it should not be required.” The Ninth Circuit has
2      cautioned that “very few circumstances justify the issuance of an ex parte TRO.” Reno Air
3      Racing Ass’n, Inc. v. McCord, 452 F.3d 1126, 1131 (9th Cir. 2006).
4             Counsel did not certify in writing the efforts made to give notice and why notice
5      should not be required in this instance; the request for a TRO without notice will therefore
6      be denied. The Court will, however, order expedited briefing on the request for TRO with
7      notice or for preliminary injunction.
8             IT IS ORDERED construing the Motion to Stay Removal (Doc. 8) as a motion for
9      TRO or motion for preliminary injunction. The request for a TRO without notice is denied.
10     The request for a TRO with notice or for preliminary injunction remains pending.
11            IT IS FURTHER ORDERED Respondents must file a response to the motion for
12     TRO with notice or for preliminary injunction no later than 5:00 p.m. on Friday June 6,
13     2025. Petitioner may file a reply no later than 5:00 p.m. on Monday June 9, 2025.
14            Dated this 3rd day of June, 2025.
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